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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


    ROWVAUGHN WELLS,

                          Plaintiff,                 Case No. 2:23-cv-02224-MSN-ATC

            v.                                       JURY DEMAND

    THE CITY OF MEMPHIS, et al.,

                          Defendants.



PLAINTIFF’S UNOPPOSED MOTION FOR LEAVE TO FILE REPLY IN SUPPORT OF
                   MOTION TO AMEND COMPLAINT

       Pursuant to Local Rule 7.2(c), Plaintiff RowVaughn Wells, through her undersigned

counsel, hereby moves for leave to file a reply in support of her Motion for Leave to File Amended

Complaint (ECF 248) (“Motion to Amend”). Plaintiff has consulted with counsel for those

Defendants who filed responses in opposition to Plaintiff’s Motion to Amend, and none of those

Defendants oppose this request for leave to file a reply. In support of her motion, Plaintiff states

as follows:

       1.        On November 30, 2024, Plaintiff filed her Motion for Leave to File Amended

Complaint. ECF 248.

       2.        Prior to filing her Motion to Amend, Plaintiff sought consent from the

Defendants. In response, the Defendants asked Plaintiff to provide them with a draft of the

proposed amended complaint, and Plaintiff complied with this request, providing the Defendants

with a substantively complete draft of the proposed amended complaint.

       3.        After receiving and reviewing the draft proposed amended complaint, multiple

Defendants emailed Plaintiff indicating that they would oppose Plaintiff’s Motion to

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Amend. However, other than informing Plaintiff of their opposition, none of the Defendants

explained their reasons for opposing amendment.

        4.      On November 30, 2024, after hearing from the Defendants, Plaintiff filed her

Motion to Amend. ECF 248.

        5.      Several of the Defendants subsequently filed responses in opposition to Plaintiff’s

Motion to Amend. See ECF 256 (Response by Defendant Robert Long); ECF 257 (Response by

Defendant City of Memphis), ECF 263 (Response by Defendant Michelle Whitaker). In these

responses, the Defendants advance multiple arguments in opposition to Plaintiff’s request to

amend her complaint, ranging from arguments grounded in Rule 16, to the trial date under the

existing operative case schedule, to the purported unreliability of witnesses who testified at the

criminal trial concerning Mr. Nichols’ death. Plaintiff was not informed of these arguments at the

time she filed her Motion to Amend, and therefore did not address them in her Motion.

        6.      Plaintiff seeks leave to file a reply brief in order to address the arguments raised by

the various Defendants in their opposition briefs. The reply will allow the Court to hear from both

sides on the various issues raised in the opposition briefs, which will assist the Court in

adjudicating Plaintiff’s Motion to Amend.

        7.      Plaintiff’s counsel consulted with counsel for those Defendants who filed responses

in opposition to Plaintiff’s Motion to Amend, and none of those Defendants oppose this request

for leave to file a reply.

        WHEREFORE, for the reasons stated above, Plaintiff respectfully requests that the Court

grant her leave to file a reply in support of her Motion for Leave to File Amended Complaint. In

light of the holiday season, Plaintiff respectfully requests that the Court set the reply as due on

January 10, 2025.



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Dated: December 20, 2024                            Respectfully submitted,



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Estate of Tyre Deandre Nichols




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                            CERTIFICATE OF CONSULTATION

        Pursuant to Local Rule 7.2(a)(1)(B), the undersigned hereby certifies that on December 18,

2024, counsel for the Plaintiff consulted with counsel for Defendants via email regarding the relief

requested in this motion. Counsel for Defendants City of Memphis, Michelle Whitaker, Robert

Long, Preston Hemphill, DeWayne Smith, and Emmitt Martin responded that they do not oppose

Plaintiff’s request for leave to file a reply brief. Counsel for Defendants Demetrius Haley, Justin

Smith, Desmond Mills, Tadarrius Bean, and JaMichael Sandridge have not responded as of the

time of this filing.

                                                     /s/ Stephen H. Weil
                                                        Stephen H. Weil




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